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AO 442 (Rev.   11/11)    Arrest Warrant




                                                 UNITED STATES DISTRICT COURT
                                                                                 for the

                                                                      District of Columbia


                        United States of America
                                          v.                                       )         Case: 1:22·cr·00011
                                                                                   )         Assigned to: Judge Leon Richard J.
                              BRIAN BOELE                                          )         Assign Date': 5/25/2022
                                                                                   )
                                                                                             Description: SUPERSEDING INDICTMENT (B)
                                                                                   )
                                                                                   )
                                                                                             Related Case No: 22- cr-00011 (RJL)
                                  De/endant


                                                                  ARREST WARRANT
To:       Any authorized law enforcement officer


          YOU ARE COMMANDED                          to arrest and bring before a United States magistrate judge without unnecessary                          delay
(name a/person     10   be arrested)           BRIAN BOELE
                                           ----------------------------------------------------------------
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment               d Superseding         Indictment       o   Infonnation           o   Superseding Infonnation                 0 Complaint
o     Probation Violation Petition                  o   Supervised Release Violation Petition             o Violation     Notice            0 Order of the Court

This offense is briefly described as follows:
    18 U.S.C. § 231(a)(3) and 2(Civil Disorder); 18 U,S,C. § 1752(a)(1) and 2 (Entering and Remaining in a Restricted
    Building or Grounds); 18 U,S.C. § 1752(a)(2) and 2 (Disorderly and Disruptive Conduct in a Restricted Building or
    Grounds); 40 U.S.C. §5104(e)(2)(D) and 2 (Disorderly and Disruptive Conduct in the Capital Grounds or Buildings).


                                                                                                                          2022.05.25
                                                                                                p..,_ -Ajw~               17:31 :21 -04'00'
Date:            05/25/2022
                                                                                                            Issuing officer's signature

City and state:            Washington, D,C.                                                Robin M, Meriweather, United States Magistrate Judge
                                                                                                               Printed name and title


                                                                                 Return

           This warrant was received on (date)         H          o.,,':)Jlo     ;10,r,and    the person was arrested on (date)              "5v,",-c,..   '3,) 0 >~
at (city and state)    L-o.,.kc...\ c:..", . F LQ r Ij~                    . '


Date:
                                                                                                           Arresting officer   '.I'   signature


                                                                                                           h        Lu._k~~s..ll                       Sft~_
                                                                                                               Printed name and..J}/e
